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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    (at Pikeville)
    UNITED STATES OF AMERICA,                 )
                                              )
          Plaintiff,                          )   Criminal Action No. 7: 15-05(01)-DCR
                                              )
    V.                                        )
                                              )
    RICKY JOHNSON,                            )       MEMORANDUM OPINION
                                              )           AND ORDER
          Defendant.                          )

                                   *** *** *** ***

         This matter is pending for consideration of Defendant Ricky Johnson’s motion to

suppress his April 7, 2015, statements to law enforcement. [Record No. 30] Johnson asserts

that his statements should be suppressed because they were obtained in violation of Miranda

v. Arizona, 384 U.S. 436 (1966). Further, he argues that the confession was involuntary

under the Due Process Clause of the Fifth Amendment to the United States Constitution.

         The motion was referred to United States Magistrate Judge Hanly A. Ingram for

review and issuance of a report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(B).

An evidentiary hearing commenced on October 6, 2015, and concluded on October 15, 2015.

[See Record Nos. 57, 63.] On November 2, 2015, the magistrate judge recommended that

Johnson’s motion to suppress be denied. [Record No. 71] Johnson has filed his objections

to the magistrate judge’s Recommended Disposition.1 [Record No. 84] However, after



1
      Because Johnson filed objections to Magistrate Judge Ingram’s Recommended
Disposition, the Court conducts a de novo review of the matters which are the subject to the
defendant’s objections. 28 U.S.C. § 636(b)(1).
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reviewing all relevant materials including the defendant’s objections, the Court agrees with

Magistrate Judge Ingram and concludes that the motion to suppress should be denied.

                                              I.

       Special Agents Randolph Copley and Christopher Bowens interviewed Johnson at his

residence on March 10, 2015, regarding their investigation concerning a railroad tunnel fire

that occurred in April 2014. [Record Nos. 30-1, p. 1; 71, p. 2] Johnson and the agents were

in the defendant’s kitchen, while Johnson’s wife sat in the living room, providing input on

one matter where Johnson’s memory failed him. [Record No. 71, pp. 3, 8] During the

suppression hearing, the agents testified that the defendant was eager to help with the

investigation, and that he agreed “without hesitation” to take a polygraph examination. [Id.,

p. 3] Notwithstanding this testimony, Mrs. Johnson testified that her husband had to go to

the emergency room following the interview. [Id., p. 8]

       On April 7, 2015, Mrs. Johnson called the agents to confirm that the defendant would

participate in a polygraph examination after work. [Id., p. 3] She advised that Johnson was

“tore up” following the initial interview, and that he had been in treatment for “a few days.”

[Id., p. 4] Johnson and his wife arrived at the Federal Bureau of Investigation (“FBI”) office

in Pikeville, Kentucky at 5:00 p.m. [Id.] The office is located on the third floor of a private

office building. [Id.] It has a small reception area, separated from the hall by an unlocked

door. The office also has a “secure space” and an “interview room,” which remain locked.

[Id.] The agents led the couple to a conference room in the secure space. [Id.] Agent

Bowens’ service weapon was visible. [Id.] The defendants sat closest to the conference

room door, which remained open. [Id.]

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       After agents informed Johnson that he was not under arrest nor obligated to talk,

Johnson stated that he wanted to help in any way he could. [Id., p. 5] The interview began

with a general discussion of the tunnel fire, with the agents showing the defendant

photographs of the scene. [Id.] Johnson did not have difficulty answering the questions, and

his wife did not assist him. [Id.] According to her testimony, Mrs. Johnson was not fully

attentive. [Id., p. 8] Further, she stated that the agents did not threaten or intimidate them.

[Id.] Mrs. Johnson testified that, during the interview, she again informed the agents that

Johnson had just left a mental health facility; however, the agents disagreed with this portion

of her testimony. [Id., pp. 5, 8] Approximately twenty minutes into the interview, the agents

asked and Johnson agreed to take a polygraph examination. [Id., pp. 5, 8]

       Johnson was taken to another room for the exam. Agents advised Mrs. Johnson that

she could wait in the reception area while the polygraph examination was administered. [Id.,

p. 6] Mrs. Johnson claims that the agents then asked her if she wanted to take a smoke;

however, the agents testified that Mrs. Johnson made the initial request. [Id., pp. 6, 9] After

Because Mrs. Johnson went outside to smoke, she could not re-enter the building because the

doors lock at the end of the business day. [Id., p. 6] Consequently, she decided to sit in her

car but attempted, without success, to reach her husband via phone calls. [Id., p. 9]

       The agents listened in another room while the polygraph examiner explained the

basics of the examination to Johnson. [Id., p. 6] The examiner stated that the examination

was voluntary and that Johnson was not in custody. [Id.] He read Johnson the “Advice of

Rights” and “Consent to Interview with Polygraph” forms, which Johnson signed. [Id.]

These forms advised Johnson of his rights to remain silent, obtain an attorney, refuse to take

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the exam, and stop answering questions at any time. [Id.] The doors to the room remained

closed during the examination. [Id.]

       The polygraph examination lasted less than an hour, during which the device was

attached to two of Johnson’s fingers, with a blood pressure cuff around his arm and a strap

across his chest. [Id., pp. 67] Because the device indicated deception, the examiner asked

Johnson if he was willing to discuss the results, which he agreed to do. [Id., p. 7] In his

confession, Johnson described the preparation leading up to the fire.         [Id.]   Next, the

examiner asked Johnson if he wanted to write a statement, but Johnson informed the

examiner that he could not read and write well. [Id.] As a result, the examiner wrote the

statement and read it to the defendant, who then signed it, adding an apologetic sentence at

the end. [Id.] In addition, Johnson read aloud the first sentence of the confession to

demonstrate that he could read. [Id.]

       At this point, the agents re-entered the examination room to serve as witnesses to the

confession. [Id.] The defendant did not demonstrate any mental health problems or any

need for assistance during the polygraph examination or post-examination interview. [Id.]

The April 7, 2015, interview and polygraph examination lasted approximately two to two

and one-half hours. [Id., pp. 89] Mrs. Johnson testified that, when the defendant exited the

building, he looked “relieved,” and not nervous or intimidated. [Id., p. 9]

       Following the April 7, 2015, interview and confession, Johnson moved to suppress

the written and recorded statements. [Record No. 30] He contends that the agents subjected

him to a custodial interrogation, and that the waiver of his Miranda rights was not voluntary,

knowing, or intelligent. [Record No. 30-1, p. 5] Further, he argues that the interrogation
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methods utilized rendered his confession involuntary under the Due Process Clause because

the agents were aware of his mental health issues and prevented his wife from reentering the

building. [Id., p. 3] In response, the United States asserts that the defendant was not in

custody during the interview and confession, indicating that Johnson’s Miranda’s rights were

not implicated. [Record No. 32, pp. 45] The government also argues that Johnson’s waiver

of the right against self-incrimination was valid. [Id., pp. 67]    Finally, the United States

contends that law enforcement’s actions were not coercive and did not violate Johnson’s due

process rights. [Id., pp. 34]

                                               II.
       A.     Miranda Claims

       Before a law enforcement officer may question a person in custody, the suspect “must

be warned that he has a right to remain silent, that any statement he does make may be used

as evidence against him, and that he has a right to the presence of an attorney, either retained

or appointed.”     Miranda, 384 U.S. at 444.           Incriminating statements “elicited in

noncompliance with this rule may not be admitted . . . in a criminal trial.” Stansbury v.

California, 511 U.S. 318, 322 (1994). After a suspect has been advised of his rights, he may

waive them, “provided the waiver is made voluntarily, knowingly and intelligently” under

the totality of circumstances. Miranda, 384 U.S. at 444.

       Johnson alleges that the polygraph examination and post-examination interview on

April 7, 2015, constituted a custodial interrogation, requiring the agents to comply with the

requirements of Miranda v. Arizona, 384 U.S. 436 (1966). [Record No. 30-1, p. 5] He

further asserts that his waiver of those rights was not voluntary, knowing, or intelligent. [Id.,

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p. 3] However, because Johnson was not in custody, and because he executed a valid waiver

of his rights, his statements will not be excluded under Miranda.

              1.     Custody

       “Where a party seeks suppression of his statements based upon a failure to receive his

Miranda warnings, he must demonstrate by a preponderance of the evidence . . . that he was

subjected to a ‘custodial interrogation.’” United States v. Lawrence, Nos. 88-2056, 88-2086,

88-2087, 88-2109, 88-2135, 1989 WL 153161, *5 (6th Cir. Dec. 18, 1989). A custodial

interrogation means “questioning initiated by law enforcement officers after a person has

been taken into custody or otherwise deprived of his freedom of action in any significant

way.” Miranda, 384 U.S. at 444. Here, the parties agree that the defendant was subjected to

interrogation. [Record No. 84, p. 2] Thus, the relevant inquiry is whether Johnson was “in

custody” during the polygraph examination and post-examination interview.

       Custody requires either a formal arrest or a “restraint on freedom of movement of the

degree associated with a formal arrest.” Stansbury, 511 U.S. at 322 (quoting California v.

Beheler, 463 U.S. 1121, 1125 (1983) (internal quotation marks omitted). In other words, the

question is whether a “reasonable person would have felt he or she was not at liberty to

terminate the interrogation and leave.” Thompson v. Keohane, 516 U.S. 99, 112 (1995). The

Sixth Circuit focuses on the following factors in determining whether a reasonable person in

the defendant’s position would conclude that he was in custody: (i) the location of the

interview; (ii) the length and manner of questioning; (iii) whether the individual possessed

unrestrained freedom of movement; and (iv) whether the individual was informed that he

need not answer questions.     United States v. Panak, 552 F.3d 462, 465 (6th Cir. 2009)

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(citing United States v. Swanson, 341 F.3d 524, 529 (6th Cir. 2003)). In the present case,

Magistrate Judge Ingram correctly evaluated these factors in concluding that Johnson was

not in custody at the time of the April 7, 2015, interview and polygraph examination for

Miranda purposes.

                     a.     Location

       Law enforcement officers are not required to give Miranda warnings simply because

an interrogation takes place at a station house or their office location. See Oregon v.

Mathiason, 429 U.S. 492, 495 (1977). “[A] non-custodial interview is not transformed into a

custodial one simply because ‘the questioning takes place in the station house, or because the

questioned person is one whom the police suspect.’” United States v. Malcolm, 435 F.

App’x 417, 421 (6th Cir. 2011) (quoting Mathiason, 429 U.S. at 495). In Malcolm, the Sixth

Circuit determined that the defendant was not in custody, even though he was interrogated at

a federal law enforcement office, because he voluntarily appeared for the interview, he was

not physically restrained, and agents repeatedly told him that he was not under arrest. 435 F.

App’x at 421; see also Singleton v. Carter, 74 F. App’x 536, 541 (6th Cir. 2003).

       Although Johnson was questioned at the FBI office rather than at a public or neutral

location, this factor does not mandate a finding that he was “in custody”.          Like the

defendants in Malcolm and Singleton, Johnson voluntarily appeared at the office, and was

told that he could leave at any time. 435 F. App’x at 421; 74 F. App’x at 541. [Record No.

71, pp. 4, 6] However, in his objections to the Recommended Disposition, Johnson notes

that the room in which the polygraph examination was administered did not have windows

and the door remained closed during the exam and follow-up. He asserts that this might

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cause a reasonable person to believe that he lacked the ability to terminate questioning.

[Record No. 84, p. 2] Additionally, Johnson notes that “no one was present in the area,”

indicating that a reasonable person might feel more isolated. [Id.] These factors weigh

slightly in favor of a finding of custody.

                      b.      Length and Manner of Questioning

       Johnson’s polygraph examination and post-examination interview lasted, at most, one

hour and forty-five minutes. [Record No. 71, p. 12] Additionally, the entire interview lasted

less than three hours. [Id., p. 8] As the magistrate judge aptly noted, in other cases, such

length has been held to be non-custodial. United States v. Mahan, 190 F.3d 416, 42122

(6th Cir. 1999) (holding that ninety-minute interview was non-custodial); Mason v. Mitchell,

320 F.3d 604, 612, 632 (6th Cir. 2003) (four-hour interview was non-custodial). This factor

weighs in favor of a finding that Johnson was not in custody.

       Further, there is no evidence that the manner of questioning was intimidating or

inappropriate. Even Mrs. Johnson testified that the agents were “nice” to the defendant prior

to the polygraph examination. [Record No. 71, p. 8] And Johnson has provided no evidence

that their behavior changed or that the polygraph examiner acted inappropriately. While his

objections point out that one of the agents was carrying a visible weapon, the Sixth Circuit

focuses on “whether weapons were drawn rather than merely visible.” United States v.

Conder, 529 F. App’x 618, 623 (6th Cir. 2013). As a result, Johnson has not carried his

burden to demonstrate that the length and manner of questioning weigh in his favor.

Lawrence, 1989 WL 153161, at *5. Under the facts of this case, the mere presence of a

weapon does indicate that the interview was custodial.

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                     c.     Freedom of Movement and Ability to Stop Questioning

       Even though Johnson was connected to the polygraph machine via wires, a chest

strap, and a blood pressure cuff, he was not physically restrained under Miranda because he

was advised that he could terminate the examination or interview at any time. See, e.g.,

United States v. Finfrock, No. 2:08-CR-54, 2010 WL 727223, *9 (W.D. Mich. Feb. 25,

2010) (where defendant voluntarily agreed to take a polygraph examination and was told she

could cease questioning at any time, the court found that agents did not “restrain her against

her will,” so she was not in custody). In United States v. Gray, a suspect who voluntarily

submitted to a polygraph examination actually stopped the examination and left the police

station. No. 14-04-GFVT, 2014 WL 2873931, *15 (E.D. Ky. June 24, 2014). Because

Johnson was advised several times (both orally and in writing) of his ability to stop the

interview and polygraph examination, the third and fourth factors weigh in favor of a finding

that he was not in custody. [Record No. 71, pp. 56]

       In his objections, Johnson argues that the fact that agents’ failure to give additional

warnings after the polygraph examination weighs in favor of a finding of custody. [Record

No. 84, p. 3] However, the magistrate judge properly noted that the “Advice of Rights” form

was not limited to the examination. [Record No. 71, p. 13] Further, the fact that Johnson

was advised several times that he was not in custody and that he was free to cease

questioning negates any effect an additional warning would have had.

       In summary, the only Panak factor that potentially weighs in Johnson’s favor is the

first one. 552 F.3d at 465. However, the location of the interview, standing alone, is

insufficient to establish custody. Mathiason, 429 U.S. at 495. Because Johnson appeared

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voluntarily at the FBI office, was not physically restrained, and was informed of his right to

leave on multiple occasions, the Court concludes that he was not in custody. Therefore, the

agents were not required to obtain a Miranda waiver for the confession. 384 U.S. at 444.

              2.     Valid Waiver

       Even if Johnson were subjected to a custodial interrogation, the Court would not find

that his statements should be suppressed under Miranda because he executed a valid waiver

of his right against self-incrimination. According to the Supreme Court, “[t]he voluntariness

of a waiver of [the privilege against self-incrimination] has always depended on the absence

of police overreaching.” Colorado v. Connelly, 479 U.S. 157, 170 (1986). The government

has the burden of proving a valid waiver by a preponderance of the evidence. Id. at 168.

“Only if the ‘totality of the circumstances surrounding the interrogation’ reveal[s] both an

uncoerced choice and the requisite level of comprehension may a court properly conclude

that the Miranda rights have been waived.” Moran v. Burbine, 475 U.S. 412, 421 (1986)

(quoting Fare v. Michael C., 442 U.S. 707, 725 (1979)).

                     a.     Voluntariness

       “[C]oercive police activity is a necessary predicate to the finding that a confession is

not voluntary . . . ” Connelly, 479 U.S. at 167 (internal quotation marks omitted). Here,

Johnson asserts that the interview was coercive due to the length of questioning,2 the agents’




2
        Johnson also argues that the fact that he was interviewed after normal business hours
suggests a finding of police coercion. [Record No. 84, p. 7] However, the interview was
conducted at that time due the defendant’s work schedule. [Record No. 71, p. 3] In any
event, this factor is outweighed by the numerous factors weighing in a favor of a finding of
no coercion.
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knowledge of his borderline intellectual functioning, and the fact that Johnson’s wife could

not reenter the building following a smoke break. [Record No. 68, p. 3]

       The length of the interview, as a whole, is not relevant to the determination of

whether Johnson validly waived his rights. Instead, the relevant inquiry is the amount of

time that passed between the beginning of the interview and the execution of the waiver.

And only thirty minutes passed between the initiation of the interview and the signing of the

waiver forms. [Record No. 71, p. 15] This does not rise to the level of coercion required

under Miranda. Mahan, 190 F.3d at 421.

          As previously noted, Johnson alleges that coercion resulted from the fact that the

officers were aware of his borderline intellectual abilities and mental health issues. [Record

No. 84, pp. 45] For example, he has an Intelligence Quotient (“IQ”) of 74, and a forensic

psychologist found that he has difficulty understanding some “sophisticated” concepts of the

criminal justice system. [Record No. 71, p. 18] Further, Johnson asserts that he suffers from

anxiety and depression. [Record No. 68, p. 2]

       A lesser “quantum of coercion” is required where the suspect suffers from a mental

incapacity. Hill v. Anderson, 300 F.3d 679, 682 (6th Cir. 2002) (quoting United States v.

Sablotny, 21 F.3d 747, 751 (7th Cir. 1994)). However, “diminished mental capacity alone

does not prevent a defendant from validly waiving his or her Miranda rights.” Garner v.

Mitchell, 557 F.3d 257, 261 (6th Cir. 2009).

       While the agents were apprised of the fact that the defendant had trouble

reading/writing and that he had recently left a mental health facility, there is no evidence that



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they exploited his diminished mental capacity in any way.3 The only coercive activity

alleged by the defendant is that the agents suggested that Mrs. Johnson leave the building for

a smoke break and did not allow her to return.4 [Record No. 68, p. 3] It does not appear that

Mrs. Johnson’s absence had any “coercive effect” on the defendant, as she had not been

helping him prior to the polygraph examination.5 See Maryland v. Shatzer, 559 U.S. 98, 111

(2010). [Record No. 71, p. 5]

       The Court concludes that Johnson waived his rights shortly after beginning the

interview. Further, there is no evidence of coercive law enforcement activity. Therefore, the

voluntariness prong under Miranda is satisfied.

                     b.      Knowing/Intelligent

       Waivers of constitutional rights must be knowingly and intelligently made. See

Colorado v. Spring, 479 U.S. 564, 574 (1987). Essentially, a defendant must understand that

he can “choose not to talk to law enforcement officers” or “discontinue talking at any time.”

Garner, 557 F.3d at 261 (6th Cir. 2009) (quoting Spring, 479 U.S. at 574). The defendant

argues that his waiver was not knowing or intelligent because: (i) his wife was not present;

(ii) he has a low IQ; and (iii) the examiner’s short review of his constitutional rights was

insufficient to provide him with a true understanding of those rights. [Record No. 84, p. 4]
3
       In addition, the agents did not know Johnson’s IQ, and they were not aware of the
specific mental health treatment he received. [Record No. 71, p. 19]
4
      The agents testified, however, that Mrs. Johnson asked to take a smoke break.
[Record No. 71, p. 6]
5
       The magistrate judge noted that there was no coercive “intent” on the part of the
agents. [Record No. 71, p. 16] However, badgering or overreaching, “explicit or subtle,
deliberate or unintentional,” may render a Miranda waiver involuntary. Smith v. Illinois, 469
U.S. 91, 98 (1984) (per curiam).
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       Johnson’s IQ, alone, does not indicate that the waiver was unknowing or

unintelligent. Garner, 557 F.3d at 265 (defendant with IQ of 76 executed a knowing and

intelligent waiver). Instead, the Court must consider diminished mental capacity with other

factors, including “the defendant’s conduct during, and leading up to, the interrogation.” Id.

Johnson demonstrated that he understood his rights.           For instance, he had no trouble

answering questions, and his wife did not assist him or even pay attention to all the

questions. [Record No. 71, p. 5] Moreover, the polygraph examiner read the “Advice of

Rights” form aloud to the defendant, and afterward, the defendant stated that he was “willing

to answer questions without a lawyer present.” [Id., p. 17]

       The record indicates that Johnson understood the rights he was waiving, and that his

waiver was knowingly and intelligently made. The government has met both prongs of the

waiver inquiry. Moran v. Burbine, 475 U.S. 412, 421 (1986) As a result, the Court agrees

with the magistrate judge’s conclusion that the statements made by Johnson following his

execution of the waiver should not be suppressed under Miranda.

       B.     Due Process Claim

       The Fifth Amendment provides that no person shall be “deprived of life, liberty, or

property, without due process of law.” U.S. CONST. amend. V. As a result, statements

admissible under Miranda may be excluded as violating a defendant’s due process rights.

See United States v. Dickerson, 530 U.S. 428, 444 (2000) (analyzing due process under the

Fourteenth Amendment). Where a defendant claims that his confession was involuntary

under the Due Process Clause, the government bears the burden of proving that the

confession was voluntary. United States v. Wrice, 954 F.2d 406,410 (6th Cir. 1992).

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       The Sixth Circuit utilizes a three-factor test to determine if a confession is voluntary,

analyzing whether: (i) “the police activity was objectively coercive;” (ii) the coercion was

sufficient to “overbear the defendant’s will;” and (iii) “the alleged police misconduct was the

crucial motivating factor in the defendant’s decision to offer the statement.” Mahan, 190

F.3d at 422 (citing McCall v. Dutton, 863 F.2d 454, 459 (6th Cir. 1988)). Factors that

influence the analysis include the defendant’s age, education, and intelligence, whether he

was informed of his rights, the length and extent of questioning, and any use of physical

punishment. Id. at 42223.

       In this case, there is no evidence that the federal agents’ activity was objectively

coercive.   While the defendant has a low IQ and trouble reading and writing, he

demonstrated an understanding of his constitutional rights by stating that he was willing to

speak without an attorney.6 [Record No. 71, p. 7] Further, the examiner took precautions by

reading the Advice of Rights form and the defendant’s written statement to the defendant

prior to having him sign the two documents. [Id., p. 6] Moreover, Johnson added an

apologetic sentence to the end of his written confession.        [Id., p. 7]   Throughout the

interview, Johnson was informed of his right to halt the questioning and leave.

       Even if the agents kept Mrs. Johnson away from her husband, there is no evidence

that this conduct was used to overcome Johnson’s free will. Mahan, 190 F.3d at 422. When

Mrs. Johnson was present with the defendant, she did not assist him in answering questions.

Consequently, this law enforcement activity did not constitute a “crucial motivating factor”

in Johnson’s decision to confess.      Id.   The Court agrees with the magistrate judge’s
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       In addition, Johnson’s competency has been established. [Record No. 69]

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conclusion that the recorded and written statements during and after the polygraph

examination on April 7, 2015 were voluntary. [Record No. 71, p. 22]

                                            III.

       In summary, Johnson was not in custody at the time of his interrogation. As a result,

Miranda’s requirements do not apply to his situation. But even if Johnson were in custody,

he executed a valid waiver of his right against self-incrimination under Miranda. Further,

Johnson’s confession was voluntary under the Due Process Clause.             Therefore, the

defendant’s statements to federal agents on April 7, 2015 will not be suppressed.

Accordingly, it is hereby

       ORDERED as follows:

       1.     The Recommended Disposition of Magistrate Judge Hanly A. Ingram [Record

No. 71] is ADOPTED and INCORPORATED by reference.

       2.     Defendant Ricky Johnson’s objections to Magistrate Judge Ingram’s

Recommended Disposition [Record No. 84] are OVERRULED.

       3.     Defendant Ricky Johnson’s motion to suppress [Record No. 30] is DENIED.

       This 24th day of November, 2015.




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